                                         UNITED STATES BANKRUPTCY COURT
                                               DISTRICT OF OREGON

In re                                              ) Case No.    19-31883-dwh11
 15005 NW Cornell LLC; and                         )      19-31886-dwh11
 Vahan M. Dinihanian, Jr.                          ) Notice of Motion for Relief
                                                   ) from Automatic Stay in a
                                                   ) Chapter 11/12 Case,
Debtor(s)                                          ) and Notice of Hearing Thereon

YOU ARE NOTIFIED THAT:

1.      A motion was filed by Creditor Bateman Seidel PC                                             for relief
        from the automatic stay protecting the debtor(s) and debtor's property, as provided by 11 U.S.C. § 362.

2.      The name and address of the moving party's attorney (or moving party, if no attorney) are:
        Travis W. Hall, Bateman Seidel, PC, 1000 SW Broadway, Suite 1910, Portland, OR 97205


3.      If you wish to resist the motion you must, within 14 days of the service date shown below, file a written
        response with the clerk at 1050 SW 6th Ave. #700, Portland OR 97204 or 405 E 8th Ave. #2600, Eugene OR 97401.
        If the response is served in paper, you must also file a certificate showing the response has been served on
        the moving party's attorney.

4.      A response must state the facts upon which relief from the automatic stay is resisted. See Local Bankruptcy
        Form (LBF) 720.50, Procedures re: Relief from Stay, for details.

5.      If you file a timely response, a hearing on the motion will be held as follows:

          Date:       01/18/2022                          Time: 9:00 am

          Location:         Courtroom #        ,

                            Telephone Hearing [NOTE: See LBF 888, Telephone Hearing Requirements]
                            Call-In Number:            (888) 684-8852
                            Access Code:               5870400 for Judge David W. Hercher (dwh)
                                                       1238244 for Judge Peter C. McKittrick (pcm)
                                                            4950985 for Judge Teresa H. Pearson (thp)
                                                            3388495 for Judge Thomas M. Renn (tmr)
                                                            Other


     No testimony will be taken at the hearing. If no timely response is filed, the hearing may be cancelled.
     Parties are encouraged to check the hearing calendar at https://www.orb.uscourts.gov after the response
     deadline has passed.
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6. If a timely response is not filed, then either:

    a. The court may sign an order without further notice, submitted by the moving party, granting relief
       from the stay; or

    b. The stay will expire under the terms of 11 U.S.C. § 362(e).


I certify that on     12/29/2021      (1) this notice, (2) LBF 720.50 if this notice was served on paper, (3) LBF
888 if this notice was served on paper and a telephone hearing will be held, and (4) the motion, were served
pursuant to Federal Rule of Bankruptcy Procedure (FRBP) 4001 and FRBP 7004 on the debtor(s), U.S. Trustee,
trustee, members of any committee appointed pursuant to 11 U.S.C. § 1102 or its authorized agent [or, if no
committee, on all creditors included on the list filed pursuant to FRBP 1007(d)], and their respective attorneys.


                                                                     /s/ Travis W. Hall
                                                                        Signature of Moving Party or Attorney




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Travis W. Hall, OSB No. 984513
thall@batemanseidel.com
Bateman Seidel PC
1000 SW Broadway, Suite 1910
Portland, OR 97205
D: 503-972-9905
F: 503-972-9920

Attorney for Creditor Bateman Seidel




                         UNITED STATES BANKRUPTCY COURT

                             FOR THE DISTRICT OF OREGON

In re:                                       )      Case Nos.
                                             )      19-31883-dwh11 (Lead Case)
15005 NW Cornell LLC and                     )      19-31886-dwh11
                                             )
Vahan M. Dinihanian, Jr.                     )      MOTION FOR LIMITED RELIEF
                                             )      FROM STAY OF CREDITOR
                         Debtor(s).          )      BATEMAN SEIDEL PC
                                             )
                                             )
                                             )
                                             )
                                             )
                                             )
                                             )



         Creditor Bateman Seidel respectfully submits this Motion for Limited Relief from

Stay to Record Notice of Lien against the Real Property Ownership Interest Of 15005 NW

Cornell LLC in the Land Records of Washington County, Oregon. Bateman Seidel PC files

this motion pursuant to 11 U.S.C. §362(d) and Bankruptcy Rules 4001(a) and 9014, and

moves the court for an order granting limited relief from the automatic stay to permit

Bateman Seidel to complete the statutorily required Notice Of Claim under ORS 87.445 and

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87.460-470 against the tenant in common real property ownership of 15005 NW Cornell

LLC in the Cornell Road Property or Farm.

   SUPPORTING FACTS AND LEGAL ARGUMENT FOR RELIEF FROM STAY

          This court in its December 13, 2021, Memorandum Decision on Objections to

Bateman Seidel Claims and Adversary Proceedings 20-03077 and 20-03079 found that

Creditor has an implied in fact contract with 15005 NW Cornell LLC and is owed under

Claim 1 the amount of $182,231.78 pursuant to its attorney’s lien in and against the

Washington County Circuit Court partition action. (Doc.# 508, pp4-6, 15-17.)

          This court found that Claim 1 in the amount of $182,231.78 is fully secured as an

attorney’s lien against the partition action and its subject matter, the tenant in common real

property ownership interest of 15005 NW Cornell LLC in the Cornell Road Property.

          This court also found that the lien attaches “to the eventual proceeds of the partition

litigation, which will be either the portion of the Farm allocated to it [15005 NW Cornell] or

its share of the proceeds of sale of the Farm”. (Doc. # 508, p. 16.)

          Lastly, this court held that “The fair market, rather than the distressed sale, value of

the portion of land that or proceeds that 16005 will receive undisputedly suffices to secure

Bateman’s attorney lien, as well as Teherani-Ami’s senior trust deed interest.” (Doc. # 508,

p. 16.)

          ORS 87.445 provides that “An attorney has a lien upon actions, suits and proceedings

after commencement thereof, and judgments, orders and awards entered therein in the

client’s favor and the proceeds thereof…”. Thus, the attorney’s lien of Creditor arose

automatically on April 27,2018 when the partition complaint was filed and relates back to

that date. See, Potter v. Schlesser 335 Or. 209, 213 (2003).

          In Potter, the Oregon Supreme Court said, “The lien is a charge on the action, and the

parties to the action cannot extinguish or affect the attorney’s lien by any means… other than

by satisfying the underlying claim of the attorney for the fees incurred in connection with the

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action.” Potter, 335 Or. at 214. Ms. Teherani- Ami was a party defendant to the partition

action and his argued in this case that Creditor has a secured attorney’s lien in the partition

action.

          ORS 87.480 specifically states that attorneys “have the same right and power over

actions, suits, proceedings, judgments, orders and awards to enforce their liens as their clients

have for the amount due thereon to them.”

          ORS 87.460(1) requires the filing of a notice of claim of lien by the attorney “with

the recording officer of the county in which the real property… is situated”. In Jones v.

Bhattacharyya, 305 Or. App. 503 (2020), the Oregon Court of Appeals recently made clear

that the notice of claim of lien must be filed as required by the statute in order to claim the

right to enforce the lien. Jones, 305 Or. at 511-513. The court said that the attorney’s

possession of a lien which attaches from the beginning of the action is different from the

attorney’s right to claim or enforce the lien. Id. at 511-512.

          The notice of claim of lien required by ORS 87.460(1) is set forth in ORS 87.470.

This verified statement in writing is attached hereto as Exhibit 1. It will be recorded in the

land records of Washington County against the tenant in common real property ownership

interest of 15095 NW Cornell LLC as soon as the court grants limited relief from stay to

Creditor.

          Thus, Creditor must record the attorney’s lien against the tenant in common

ownership interest of 15005 Cornell LLC in the Cornell Road Property immediately in order

to enforce its attorney’s lien. ORS 87.465 states that if the notice of claim of lien is not

timely filed, the lien is lost. Creditor has the attorney’s lien as this court has now ruled and it

is secured by the interest of 15005 NW Cornell in the Farm or the proceeds of any sale of

that interest.

///



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       The court for good cause should grant the limited relief from stay for Creditor to file

the notice of claim of lien against the tenant in common real property ownership of 15005 in

the recording office of the land records of Washington County so the attorney’s lien can be

enforced and remain secured against the partition action and the real property involved in it

or the proceeds from any sale.

                                       CONCLUSION

       Creditor Bateman Seidel PC prays for the entry of an order granting relief from the

automatic stay to permit Creditor to record the notice of claim of attorney’s lien against the

tenant in common real property ownership of 15005 NW Cornell LLC in the Cornell Road

Property or the proceeds from any sale of that interest

       DATED THIS 29TH DAY OF DECEMBER, 2021.

                                              BATEMAN SEIDEL MINER BLOMGREN CHELLIS
                                              & GRAM, P.C.


                                                /s/ Travis W. Hall
                                              Travis W. Hall. OSB No. 984513




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                               CERTIFICATE OF SERVICE
       I hereby certify that on the date indicated below, a copy of the foregoing MOTION

FOR LIMITED RELIEF FROM STAY OF CREDITOR BATEMAN SEIDEL PC was

filed with the court electronically via https://oregon.tylerhost.net/ofsweb. Notice of this filing

will be sent by e-mail to all parties participating in the ECF-filing system by operation of the

Court’s electronic filing system as noted below:

Bruce H. Orr                                        Nicholas J. Henderson
Wyse Kadish LLP                                     Motschenbacher & Blattner, LLP
900 SW 5th Ave                                      811 SW Taylor Street, Suite 300
Suite 2000                                          Portland, Oregon 97204-3029
Portland, Oregon 97204
                                                    Stephen Arnot
Douglas R. Pahl                                     U.S. Trustee, Portland
Perkins Coie LLP                                    620 Main Street #213
1120 NW Couch Street, Tenth Floor                   Portland, Oregon 97205
Portland, Oregon 97209-4128

       DATED THIS 29TH DAY OF DECEMBER 2021.

                                              BATEMAN SEIDEL MINER BLOMGREN CHELLIS
                                              & GRAM, P.C.


                                               /s/ Travis W. Hall
                                              Travis W. Hall, OSB No. 984513




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Page 1 – CERTIFICATE OF SERVICE                                                         Facsimile: (503) 972-9921


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                                           Exhibit 1
                                        (Notice of Lien)

NOTICE OF CLAIM OF LIEN UNDER ORS 87.445, 87.460 AND 87.470 BY CREDITOR
BATEMAN SEIDEL PC FO ITS ATTORNEY’S LIEN

THIS IS A VERIFIED STATEMENT UNDER OATH OF THE NOTICE OF CLAIM OF
ATTORNEY’S LIEN BY CREDITOR BATEMAN SEIDEL PC AS TO THE
FOLLOWING FACTS:

1. Creditor has a secured attorney’s lien as found by the US Bankruptcy Court for the District
of Oregon in the amount of $182,231.78 for the fees and costs for legal services performed
by Creditor in the partition action in Washington County Circuit Court, Case Number 18CV-
1705, representing 15005 NW Cornell LLC.

2. The Bankruptcy Court case with the court awarded attorney’s lien is case 19-31883-dwh11
and the Memorandum Decision of December 13, 2021, contains the attorney lien claim
award.

3. The Washington County Circuit Court case containing the partition litigation is No.
18CV17059.

4. The amount due to Bateman Seidel PC as Creditor under the attorney’s lien is a true and
bona fide existing debt as of the date of the filing of this notice of claim of lien. This amount
is $182,231.78.

5. This amount was due in full to Bateman Seidel PC for its legal services as the unpaid legal
fees and costs not later than May 2019.

6. The tenant in common real property ownership interest of 15005 NW Cornell LLC in the
Cornell Road Property or Farm is the property interest involved in the partition action against
which the attorney’s lien attached since April 27, 2019. The legal description of the entire
Cornell Road Property or Farm in which 15005 NW Cornell LLC has a tenant in common
real property ownership interest is attached hereto as Exhibit A.

7. This real property described in Exhibit A, as to the particular ownership interest or sale
proceeds to be allocated to 15005 NW Cornell LLC, is the property against which this notice
of claim attached and is now to be enforced by Creditor Bateman Seidel PC.

8. For clarification and avoidance of doubt, the ownership interest in and the real property to
be allocated to 15005 NW Cornell LLC by the partition action, or otherwise, or the proceeds
from any sale of the ownership allocated to 15005 NW Cornell LLC, is the only property
interest or sale proceeds to which the attorney’s lien of Creditor Bateman Seidel attached and
which is now being enforced by this notice of claim of lien. No other tenant in common real


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property ownership interest in the Cornell Road Property or Farm is attached or enforced by
this notice of claim of lien of Bateman Seidel other than that of 15005 NW Cornell LLC.

       IN WITNESS WHEREOF, this Notice of Claim of Lien is executed as of the ____
day of _________, 2022.

                                            BATEMAN SEIDEL MINER BLOMGREN
                                            CHELLIS & GRAM, P.C.:



                                            By:
                                            Name: Travis W. Hall
                                            Title: Shareholder


STATE OF OREGON                      )
                                     )
COUNTY OF MULTNOMAH                  )

      This instrument was acknowledged before me on ____________________, 20__, by
__________________________________,        _______________________________      of
________________________, a _________________________, on behalf of said
_______________________________________.


                                     Notary Public, State of ______________________
                                     Printed Name:
                                     My Commission Expires:




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                                EXHIBIT A
                             (Legal Description)




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